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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                           Criminal No. 10-cr-165-01-JL

Jorge Garib


                                  O R D E R


        The assented to motion to reschedule jury trial (document no.

10 ) filed by defendant is granted based on the representation from

counsel that the matter will set for plea hearing. Final Pretrial

is rescheduled to April 20, 2011 at 10:00am; Trial is continued to

the two-week period beginning May 2, 2011, 09:30am.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                          _______________________________
                                          Joseph N. Laplante
                                          United States District Judge

Date:     March 15, 2011



cc:   Thomas J. Gleason, Esq.
      Donald A. Feith, AUSA
      U.S. Marshal
      U.S. Probation
